                    IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION
                            CASE NO. 5:22-CV-15-FL


ROBERT TERRACINO, et al.,                     )
    Plaintiff,                                )
                                              )
      vs.                                     )     ORDER APPOINTING MEDIATOR
                                              )
TRIMACO, INC., et al,                         )
     Defendants.                              )
                                              )

      It appearing to the Court that the procedure for selection of a mediator set out

in Local Rule 101.1c(b) has been followed in this case, and that Douglas Kenyon has

been designated as mediator.

      IT IS ORDERED, pursuant to Local Rule 101.1c(b), that Douglas Kenyon is

appointed mediator in the above entitled case.

      IT IS FURTHER ORDERED, pursuant to Local Rule 101.1d(b), that the parties

shall confer with the mediator regarding scheduling of the mediated settlement

conference, determine the place and time of the conference, and give notice to the

parties.

      FURTHER, when the mediated settlement conference is completed, the

mediator shall submit the Report of Mediator to the clerk, pursuant to Local Rule

101.1e.

      This the15th day of September 2023.

                                              /s/ Peter A. Moore, Jr.
                                              Peter A. Moore, Jr.
                                              Clerk of Court




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